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0 on IN THE UNITED STATES DISTRICT Cot
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

JAMES CONSTRUCTION GROUP f/k/a
ANGELO IAFRATE CONSTRUCTION, LLC,

Plaintiff/Counter-Defendant/
Third-Party Plaintiff,
VS.

DALLAS/FORT WORTH INTERNATIONAL
AIRPORT BOARD,
Defendant/Counter-Plaintiff/ CIVIL A
Third-Party Plaintiff,
VS.

NATIONAL FIRE INSURANCE COMPANY
OF HARTFORD,

Third Party Defendant/
Third-Party Plaintiff.

JAMES CONSTRUCTION’S OBJECTIONS AND MOT
DFW’S SUMMARY JUDGMENT EVIDE

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URT

CTION NO. 4-05CV-345 A

TION TO STRIKE
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TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, JAMES CONSTRUCTION GROUP {f

CONSTRUCTION, LLC (hereinafter "James Construction") and f

Motion to Strike DFW's Summary Judgment Evidence and,

respectfully show unto the Court as follows:

I. | INTRODUCTION’

1. DFW relies upon the following evidence in suppor

/k/a ANGELO IAFRATE
iles this its Objections and

in support thereof, would

t of its Response to James

Construction’s Motion for Partial Summary Judgment: (1) Affidavit of Terence P. Cassidy

 

' Although DEW originally filed its Response to James Construction's Motion for

Partial Summary Judgment and

accompanying Appendix on October 13, 2006, and again on October 16, 2006, James Construction did not receive

DFW's Appendix until the afternoon of October 20, 2006.

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(DFW App. pp. 1-12); (2) Affidavit of Albert San Miguel (DFW Ag
of Jim Cottle (DFW App. pp. 23-25); (4) Affidavit of Wayne R. B
29); (5) Affidavit of Raymond G. Helmer (DFW App. pp. 30-31);

(DFW App. pp. 45-47); (7) Affidavit of Joe D. Tolbert (DFW App. p
of Terrence P. Cassidy (DFW App. pp. 52 - 81)(collectively the “

following reasons, the Court should strike, in whole or in part, the

ye 20f9 PagelD 440

yp., pp. 13-22); (3) Affidavit
runzell (DFW App. pp. 26-
6) Affidavit of Steve Evans
p. 48 -51); and (8) Affidavit
DFW Affidavits”). For the

above referenced summary

judgment evidence. James Construction has marked the DFW Affidavits (in black-line) to show

which statements should be stricken from each paragraph.”

II. The Court Should Strike Portions of DFW’s Affidavits that Lack Personal

Knowledge, Contain Hearsay, Refer to Documents Withot
Certified Copies, or Rest Upon Conclusory Statements.

On a motion for summary judgment, or response thereto, Fed|
56(e) provides that supporting and opposing affidavits:

...Shall be made on personal knowledge, shall set forth suc
admissible in evidence, and shall show affirmatively that the
to testify to the matters stated therein. Sworn or certified cq
parts thereof referred to in an affidavit shall be attache
therewith.

ut Attaching Sworn or

eral Rule of Civil Procedure

h facts as would be
affiant is competent
pies of all papers or
d thereto or served

By its express language, Rule 56(e) requires more than an assertion that the affiant has “personal

knowledge” and is “competent to testify.” It requires the affiant to s
competent to testify to the matters stated therein.
Rule 56(e) also requires that in affidavits supporting or of

there can be no hearsay (FED. R. EvID. 801); there can be no stateme

how affirmatively that he is

)posing summary judgment

nt without foundation (FED.

R. Evip. 702, 901); there can be no unexecuted documents (FED. R. EVID. 901); and there can be

 

2 In Exhibits A, B, C, D, E, F, and G of Appendix — James Construction’s Objec

ions and Motion to Strike DFW's

Summary Judgment Evidence, James Construction has provided black-line versions of the DFW Affidavits showing

the statements in each affidavit that James Construction moves to strike.

Citations to Appendix — James

Construction’s Objections and Motion to Strike DFW's Summary Judgment Evidence will be cited as “Strike App.,

p. 7,

JAMES CONSTRUCTION’S OBJECTIONS AND MOTION TO STRIKE
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no conclusory statements. Hollander v. Am. Cyanamid Co., 172 F.3d 192, 198 (2nd Cir. 1999);

sth Cir. 1994), As a result, a

Marshall v. E. Carroll Parish Hosp. Serv. Dist., 134 F.3d 319, 324 (5

court should strike portions of affidavits that lack personal knowledge, contain hearsay, or rest

upon conclusory statements. Evans v. Techs. Applications & Serv,
Cir. 1996). In addition, “[w]hen ultimate facts and legal conclusions
extraneous material should also be disregarded by the court.” LaRo
452, 455 (S.D.N.Y. 1996)(citations omitted). Moreover, “[i]f docum
source of factual contention, Rule 56(e) requires attachment.” Sc
County, Oregon v. ACandS, Inc., 5 F.3d 1255, 1262 (9th Cir. 199
56(e). Thus, statements that refer to unattached documents should be

Accordingly, to the extent the DFW Affidavits contain
inadmissible statements in the DFW Affidavits should be stric
demonstrated below, the DFW Affidavits are replete with inadmissib
Il. Both Affidavits of Terence P. Cassidy Contain Inadmissib|
Neither of Mr. Cassidy’s two affidavits affirmatively show th
to the matters stated therein. See Antonio v. O.W. Barnes, 464 F.2d
States v. M.E. Dibble, 29 F.2d 598, 602 (9th Cir. 1970). Mr. Cassic
title as Assistant Vice President provides him with personal know
construction of the project or the contract between the parties. Mr.

has personal knowledge of the alleged problems with the SRMP, t

Construction, or the expert’s opinions in this case. Strike App., pp.

Mr. Cassidy also renders opinion testimony in violation of Federal R

 

> James Construction has submitted a black-line version of the two Affidavits of T

pp. 1-6 and pp. 7-0.

JAMES CONSTRUCTION’S OBJECTIONS AND MOTION TO STRIKE
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ken and disregarded.

Co, 80 F.3d 954, 962 (4th

appear in an affidavit, such

uche v. Webster, 175 F.R.D.

entary evidence is cited as a

h. Dist. No. IJ, Multnomah

B); see also FED. R. Clv. P.

stricken.
inadmissible matters, the
AS

le matter.

le Matter.°

at he is competent to testify
584 (4th Cir. 1972); United
ty does not explain how his
ledge of any aspect of the
Lassidy fails to show that he
he bond obtained by James
2-3, (1 4, 5, 8, 9; p. 8, J 3.

ule of Evidence 702. Strike

lerence P. Cassidy in Strike App.,

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App., p.5, 19; p. 8, 3.

Further, Mr. Cassidy repeatedly makes conclusory statements
supported with specific facts and without providing the requisite fou
5, {1 4, 5, 8, 9; p.8, { 3. Bare allegations of fact, ultimate or
conclusions are not sufficient. Marshall, 134 F.3d at 324. Additioné
by Mr. Cassidy are inadmissible legal conclusions. Jd. Strike App.
improperly references documents in his affidavit without attachin{
FED. R. Civ. P. 56(e); Strike App., p.3, { 4. These statements are
stricken and disregarded by the Court.

IV. The Affidavit of Albert San Miguel Contains Inadmissible
Mr. Miguel fails to explain how his title as Project Manager
knowledge of the Project or any of the facts set forth in his Affidavi
2, 3, 4. Further, Mr. Miguel offers unsubstantiated expert opinion
expert, nor has DFW designated him as an expert. FED. R. Evip. 7(
establish his qualifications for offering opinion testimony or the b

Strike App., pp. 11-12, {J 2, 3, 4. Finally, the documents attached t

not properly authenticated and contain inadmissible hearsay. FED. I

ye dof9 PagelD 442

sin his affidavits that are not

ndation. Strike App., pp. 2-

conclusory facts, and legal

ally, certain statements made

p. 5,99. Mr. Cassidy also

& sworn or certified copies.

inadmissible and should be

: Matter.’

provides him with personal
. Strike App., pp. 11-12, ff
s, even though he is not an
)2. Mr. Miguel also fails to
asis for the opinions given.
io Mr. Miguel’s affidavit are

R. Crv. Evip. 801 & 901(b).

These statements are inadmissible and should be stricken and disregarded by the Court.

Vv. The Affidavit of Jim Cottle Contains Inadmissible Matter,
Mr. Cottle’s Affidavit references unsworn documents th
Affidavit. FED. R. Civ. P. 56(e). Strike App., pp. 14-15, #4

conclusory statements regarding the alleged collapse of the SRMP

 

“James Construction has submitted a black-line version of the Affidavit of Albert
10-12.

> James Construction has submitted a black-line version of the Affidavit of Jim C

JAMES CONSTRUCTION’S OBJECTIONS AND MOTION TO STRIKE
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At are not attached to the
5. Mr. Cottle also makes
and the joints in the SRMP

San Miguel in Strike App., pp.

pttle in Strike App., pp. 13-15.
PAGE 4

 

 

 
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because he does not provide specific facts that establish his persona
for his statements. Strike App., p. 15, | 7. These statements are
stricken and disregarded by the Court.

VIL

knowledge and/or the basis

inadmissible and should be

The Affidavit of Wayne Brunzell Contains Inadmissible Matter.°

Mr. Brunzell is a testifying expert retained by DFW. Ironically, DFW now relies on the

affidavit testimony of Mr. Brunzell. In his affidavit, Mr. Brunzell does not refer to or rely upon

his written report, which contain his opinions relating to the SRMP.
In order for an expert’s affidavit to be admissible in the cont

proceeding, the affidavit must: (1) set forth the expert’s opinion; (2

ext of a summary judgment

set forth the facts on which

the opinion is based; and (3) set forth the reasoning on which the opinion is based. Dolihite v.

Maughon, 74 F.3d 1027, 1047 (11th Cir. 1996). Because Mr. Brunzell’s Affidavit fails to set

forth the basis for his opinion in paragraph six (6), this paragra
disregarded. Strike App., p.18. James Construction also request
Brunzell’s opinions that are outside the scope of his written report.

Mr. Brunzell also refers to documents in his Affidavit but fails to atta

ph should be stricken and

& that the Court strike Mr.
Strike App., p.18, TQ] 5 & 6.

ich sworn or certified copies

of these documents. FED. R. CIv. P. 56(e). Strike App., pp. 17-18, J] 3, 4, 5. These statements

are inadmissible and should be stricken and disregarded by the Court
VII. The Affidavit of Raymond G. Helmer, Jr. Should Be Struc

Mr. Helmer’s affidavit is defective for the same reasons as M

k In Its Entirety.’

r. Brunzell’s affidavit. The

Helmer Affidavit is only two paragraphs long, wherein Mr. Helmer states his name, attaches

excerpts of his expert report and states an estimated cost to remove 4

 

° James Construction has submitted a black-line version of the Affidavit of Wayne

16-19.
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pp. 20-21.

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James Construction has submitted a black-line version of the Affidavit of Rayma

ind replace the SRMP. The

R. Brunzell in Strike App., pp.

nd G. Helmer, Jr. in Strike App.,

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Helmer Affidavit fails to meet the requirements of admissibility for
See Dolihite, 74 F.3d at 1047. Mr. Helmer does not state the bas
Mr. Helmer explain the facts upon which his opinion is based. Id.
affidavit contains inadmissible hearsay. FED. R. EVID. 801. Strike
reasons, the Helmer Affidavit and its exhibits should be stricken in t
by the Court.
VIII. The Affidavit of Steve Evans Contains Inadmissible Matte
James Construction requests that the Court strike statements
attendant exhibits that refer to documents without attaching swor
document. FEp. R. Civ. P. 56(e); Strike App., pp. 23-24, {J 2, 3,
Affidavit contains inadmissible hearsay. Strike App., p. 24, J 4.
unattached documents constitute inadmissible hearsay. FED. R. Evin
inadmissible and should be stricken and disregarded by the Court.
IX. Exhibit A to the Affidavit of Joe D. Tolbert Should Be Stri
Exhibit A to the Tolbert Affidavit is a deposition transcript
authenticated and is inadmissible. Fep. R. Civ. Evip. 901; Orr v. ]
774 (9th Cir. 2002) (“A deposition or an extract therefrom is au
summary judgment when it identifies the names of the deponent and

reporter’s certification that the deposition is a true record of the te

The deposition excerpt does not identify the name of the deponent

contain the reporter’s certification that the deposition is a true rect

deponent. Therefore, Exhibit A to the Tolbert Affidavit should be stri

 

* James Construction has submitted a black-line version of the Affidavit of Steve I

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an expert witness affidavit.

is for his opinion, nor does

Furthermore, Mr. Helmer’s

App., p.21, J 2. For these

heir entirety and disregarded

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1

in the Evans Affidavit and

n or certified copies of the

4. Furthermore, the Evans
Mr. Evans’s references to

. 801. These statements are

uck In Its Entirety.

that has not been properly
Bank of Am., 285 F.3d 764,
henticated in a motion for
the action and includes the
stimony of the deponent.”).
and the action, nor does it
brd of the testimony of the

icken by the Court.

Evans in Strike App., pp. 22-24.
PAGE 6

 

 

 
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X. Conclusion

For the foregoing reasons, James Construction respectfully 1

the foregoing DFW Affidavits, in whole or in part, disregard all

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equests that the Court strike

inadmissible matter and the

attendant exhibits identified in the DFW Affidavits, and grant James Construction such further

and other relief, both at law and in equity, to which James Construd

justly entitled.

Respectfully submitted,

SZ fa

tion would show itself to be

po —

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Brian-P/Coofer, Staté Bar No. 24012451

Robert J. Shapiro, State

Bar No. 18111075

CANTERBURY, STUBER, ELDER, GOOCH

& SURRATT, P.C.

5005 LBJ Freeway, Suite 1000

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Facsimile:

19

(972) 239-7493
(972) 458-2554

ATTORNEYS FOR JAMES CONSTRUCTION

GROUP f/k/a ANGELO

TAFRATE

CONSTRUCTION, LLC AND NATIONAL FIRE
INSURANCE COMPANY OF HARTFORD

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CERTIFICATE OF CONFERENCE

On Monday, October 23, 2006, at approximately 10:00 a.m.,
J. Shapiro, counsel for James Construction, initiated a call to, and ¢

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Brian T. Cooper and Robert
poke on the telephone with,

counsel for DFW International Airport Board, Mr. Joe D. Tolbert and Mr. Luis A. Galindo. The

telephone conversation was scheduled to take place as a result of

e-mails exchanged between

Mr. Cooper and Mr. Tolbert on Sunday, October 22, 2006 and Monday, October 23, 2006. The

topic for conference was the objections and motion to strike DFW's
that James Construction intended to file, in conjunction with Jat
DFW's response to James Construction's motion for partial summary
counterclaim. In accordance with the Order of the Court signed
received by counsel on Friday, October 20, 2006, James Constructid
to the summary judgment motion was to be filed by 2:00 p.m. on
DFW had originally filed its response to the motion for partial g
appendix containing eight (8) affidavits on October 13, 2006 and re
counsel for James Construction only received DFW's appendix aft
20, 2006. Counsel for James Construction had notified counsel f
occasions, on October 18 and October 20, 2006, that James Constr
the appendix. In light of the 2:00 p.m. filing deadline set by the Ca
DFW's Appendix containing the eight (8) affidavits upon which I
counsel for James Construction was able to only preview and get
grounds for its objections and motion to strike and was unable to pr
in written form or to otherwise engage in a detailed conversat
testimony in each affidavit to which it objects and seeks to have stric

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Therefore, this matter is presented to the Court for determinat

C Pay
Brian-£-Cooper

JAMES CONSTRUCTION’S OBJECTIONS AND MOTION TO STRIKE

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ummary judgment evidence

mes Construction's reply to

Judgment on DFW's SRMP
on October 19, 2006 and

n's reply to DFW's response
Dctober 23, 2006. Although
lummary judgment, with its

-filed on October 16, 2006,

er noon on Friday, October
ior DFW via e-mail on two
uction had still not received
urt and the recent receipt of
DGW relied in its response,
herally state the evidentiary
esent the specific objections

on about specific lines of

ken.

ion.

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing instrument has
this 23rd day of October, 2006, been duly served upon the persons listed below via certified

mail, return receipt requested.

via certified mail, receipt no. 7003 3110 0003 3267 9052
Luis A. Galindo, Esq.

600 Fort Worth Club Building

306 West 7th Street

Fort Worth, Texas 76102

via certified mail, receipt no. 7003 3110 0003 3267 9069
Joe D. Tolbert, Esq.

Harris, Finley & Bogle, P.C.

777 Main Street, Ste. 3600

Fort Worth, Texas 76102

— Koy (a

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